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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,
                                                                     8:16CR110
       vs.
                                                             ORDER FOR DISMISSAL
CHAD BASHUS,

                      Defendant.


       Pursuant to Motion of the United States (Filing No. 53), leave of court is granted for the

filing of the dismissal of the Criminal Indictment against Chad Bashus.

       IT IS ORDERED that the Motion to Dismiss the Criminal Indictment (Filing No. 53) is
granted.

       Dated this 25th day of March, 2016.

                                              BY THE COURT:



                                                s/ Joseph F. Bataillon
                                              JOSEPH F. BATAILLON
                                              Senior United States District Judge
